  Case 1:23-cv-01495-JMS-MKK Document 1-2 Filed 08/22/23 Page 1 of 4 PageID #: 38



                               United States District Court
                                                     for the
                                           Southern District of Indiana

KARTIK PATEL and PMK CORPORATION                         )
d/b/a BUDGET 8 INN,                                      )
                                                         )
                             Plaintiff,                  )
                                                         )
             vs.                                         )       Cause No: 1:23-cv-1495
                                                         )
CONSOLIDATED CITY OF INDIANAPOLIS/                       )
MARION COUNTY; CITY OF INDIANAPOLIS                      )
DEPARTMENT OF BUSINESS AND                               )
NEIGHBORHOOD SERVICES; ABBEY BRANDS,                     )
in her official capacity; AMY WUNDER, in her             )
official capacity, and CHARLES ASKEW in his              )
official and individual capacities,                      )
                                                         )
                             Defendants.                 )


                                   SUMMONS IN A CIVIL ACTION


TO:   Consolidated City of Indianapolis/                         City of Indianapolis Department of
      Marion County                                              Business and Neighborhood Services
      c/o Office of Corporation Counsel                          c/o Office of Corporation Counsel
      200 East Washington Street                                 200 East Washington Street
      City-County Building, Room 1601                            City-County Building, Room 1601
      Indianapolis, Indiana 46204                                Indianapolis Indiana 46204

      Abbey Brands, Director                                     Amy Wunder, Administrator/Deputy Director
      City of Indianapolis Business and                          City of Indianapolis Business and
      Neighborhood Services                                      Neighborhood Services
      1200 Madison Avenue, #100                                  1200 Madison Avenue, #100
      Indianapolis, Indiana 46225                                Indianapolis, Indiana 46225

      Charles Askew, License Administrator                       Charles Askew, Individually
      City of Indianapolis Business and                          c/o City of Indianapolis Business and
      Neighborhood Services                                      Neighborhood Services
      1200 Madison Avenue, #100                                  1200 Madison Avenue, #100
      Indianapolis, Indiana 46225                                Indianapolis, IN 46225
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        A lawsuit has been filed against you. Within 21 days after service of this summons on you (not counting
the day you received it) C or 60 days if you are the United States or a United States agency, or an officer or employee
of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) C you must serve on the plaintiff an answer to the
attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must
be served on the plaintiff or plaintiff’s attorney, whose name and address are:



                                                                                     Civil Summons (Page 2)




                                                           TOMPKINS LAW
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  Case 1:23-cv-01495-JMS-MKK Document 1-2 Filed 08/22/23 Page 3 of 4 PageID #: 40



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                                                         CLERK OF COURT



Date: ______________________                             _______________________________________
                                                         Signature of Clerk or Deputy Clerk

Civil Action Number: __________________________
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                                              PROOF OF SERVICE
               (this section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

        This summons for (name of individual and title, if any) ______________________________________

was received by me on (date)__________________.

        I personally served the summons on the individual at (place) __________________________________

        ________________________________________________ on (date) __________________; or

        I left the summons at the individual’s residence or usual place of abode with (name)________________

        _____________________________________, a person of suitable age and discretion who resides there,

        on (date) __________________, and mailed a copy to the individual’s last known address; or

        I served the summons on (name of individual) ________________________________________, who is

        designated by law to accept service of process on behalf of (name of organization) _________________

        ________________________________________on (date) __________________; or

        I returned the summons unexecuted because _____________________________________________; or

        Other (specify):



My fees are $ _____________for travel and $_______________for services, for a total of $_______________.


I declare under penalty of perjury that this information is true.


Date: ____________________                         __________________________________________________
                                                   Server’s Signature


                                                   __________________________________________________
                                                   Printed name and title


                                                   __________________________________________________
                                                   Server’s address

Additional information regarding attempted service, etc.
